           Case 1:15-cr-00288-LJO-SKO Document 147 Filed 12/29/15 Page 1 of 2


 1   M. RICHARD ALVAREZ, SBN 241343
     ATTORNEY AT LAW
 2   115 South Church St.
 3   Visalia, CA 93291
     Telephone:    (559) 622-8801
 4   Facsimile:    (559) 622-8869
 5   Attorney for Defendant
 6   Arthur Allen Walker

 7
 8                            IN THE UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11
     UNITED STATES OF AMERICA,                        )     CASE NO.: 1:15-CR-00288-LJO
12                                                    )
                   Plaintiff,                         )     WAIVER OF DEFENDANT’S
13                                                    )     PRESENCE, AND ORDER
                       v.                             )
14                                                    )
     Arthur Allen Walker,                             )
15                Defendant                           )
                                                      )
16
17          Pursuant to Rule 43 of the Federal Rules of Criminal Procedure, the defendant, Arthur
18   Allen Walker, hereby waives the right to be present in person in open court upon the hearing of
19   any motion or other proceeding in this case, including, but not limited to Status Hearings when
20   the case is set for trial, when a continuance is ordered, and when any other action is taken by the
21   court before or after trial, except upon arraignment, plea, empanelment of jury and imposition of
22   sentence. Defendant hereby requests the Court to proceed during every absence of his which the
23   Court may permit pursuant to this waiver; agrees that his interests will be deemed represented at
24   all times by the presence of his attorney, the same as if Defendant were personally present;
25   further agrees to be present in court ready for trial any day and hour the Court may fix in his
26   absence.
27
28



                                                      -1-
           Case 1:15-cr-00288-LJO-SKO Document 147 Filed 12/29/15 Page 2 of 2


 1            Defendant further acknowledges that he has been informed of his rights under Title 18
 2   U.S.C. §§3161-3174 (Speedy Trial Act), and authorizes his Attorney to set times and delays
 3   under that Act without Defendant being present.
 4
 5   Dated: December 11, 2015                               /s/Arthur Allen Walker
                                                            Arthur Allen Walker
 6
 7                                                         (Original retained by Attorney.)

 8
 9   I agree with and consent to my client’s Waiver of Appearance.
10
11   Dated: December 11, 2015                               M. Richard Alvarez /s/
12                                                          M. Richard Alvarez

13                                                          Attorney for Arthur Allen Walker
14
15                                                ORDER

16
     IT IS SO ORDERED.
17
     Dated:     December 29, 2015                                  /s/ Sheila K. Oberto
18                                                     UNITED STATES MAGISTRATE JUDGE
19
20
21
22
23
24
25
26
27
28



                                                     -2-
